     Case 4:19-cv-07123-PJH Document 133-6 Filed 09/02/20 Page 1 of 3
              HIGHLY CONFIDENTIAL-ATTORNEYS EYES ONLY



 1   JOSEPH N. AKROTIRIANAKIS (Bar No. 197971)
      jakro@kslaw.com
 2   AARON S. CRAIG (Bar No. 204741)
      acraig@kslaw.com
 3   KING & SPALDING LLP
     633 West Fifth Street, Suite 1700
 4   Los Angeles, CA 90071
     Telephone:    (213) 443-4355
 5   Facsimile:    (213) 443-4310

 6   Attorneys for Defendants NSO GROUP TECHNOLOGIES
     LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                   UNITED STATES DISTRICT COURT
 8

 9                                NORTHERN DISTRICT OF CALIFORNIA

10                                         OAKLAND DIVISION

11   WHATSAPP INC., a Delaware corporation,        Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                                  DECLARATION OF CHAIM GELFAND
13                  Plaintiffs,                    Ctrm: 3
                                                   Judge: Hon. Phyllis J. Hamilton
14          v.
                                                   Action Filed: 10/29/2019
15   NSO GROUP TECHNOLOGIES LIMITED
     and Q CYBER TECHNOLOGIES LIMITED,
16                                                  REDACTED VERSION OF
17                  Defendants.                     DOCUMENT SOUGHT TO BE SEALED

18

19

20

21

22

23

24

25

26

27

28
                 HIGHLY CONFIDENTIAL-ATTORNEYS EYES ONLY
       DECLARATION OF CHAIM GELFAND                                     Case No. 4:19-cv-07123-PJH
     WORKAMER\29873\825002\37320460.v1-9/1/20
Case 4:19-cv-07123-PJH Document 133-6 Filed 09/02/20 Page 2 of 3
         HIGHLY CONFIDENTIAL-ATTORNEYS EYES ONLY




        HIGHLY CONFIDENTIAL-ATTORNEYS EYES ONLY
Case 4:19-cv-07123-PJH Document 133-6 Filed 09/02/20 Page 3 of 3
